     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 1 of 10 Page ID #:1


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 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                             Case No.
      CARMEN JOHN PERRI, an
12                                             Complaint For Damages And
13    individual,                              Injunctive Relief For:

14                    Plaintiff,               1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
      v.                                          ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
      CASH-PRO MANAGEMENT,
                                                  325).
18    INC., a California corporation;
      WESTWOOD CENTER, LLC, a
19                                             2. VIOLATIONS OF THE UNRUH
      California limited liability company;
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20    and DOES 1-10, inclusive,
                                                  CIVIL CODE § 51 et seq.
21
                      Defendants.
22

23

24           Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendants

25    CASH-PROP MANAGEMENT, INC., a California corporation; WESTWOOD

26    CENTER, LLC, a California limited liability company; and Does 1-10

27    (“Defendants”) and alleges as follows:

28    ////

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                                          COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 2 of 10 Page ID #:2


 1                                           PARTIES
 2          1.     Plaintiff’s musculoskeletal and neurological systems are impaired.
 3    These impairments result in weakness, fatigue, pain, and loss of strength in his arms,
 4    hands, and legs. He has also developed permanent nerve damage that has caused
 5    increased pain and limits his ability to function and limits his mobility, especially for
 6    any extended period of time. He is substantially limited in performing one or more
 7    major life activities, including but not limited to: walking, standing, ambulating,
 8    and/or sitting. Plaintiff’s circulatory and cardiovascular systems are impaired.
 9    Specifically, Plaintiff has been diagnosed with Atrial Fibrillation. This substantially
10    limits his ability to walk, stand, ambulate, breath, sit, or otherwise function. As a
11    result of his impairments, he is subject to falls, unsteady on his feet, cannot walk for
12    any significant distance without having to periodically rest, and often relies upon
13    mobility devices to ambulate including a cane, walker, or wheelchair. With such
14    disabilities, Plaintiff qualifies as a member of a protected class under the Americans
15    with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments
16    Act of 2008 (P.L. 110-325) (“ADA”) and the regulations implementing the ADA set
17    forth at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendants’
18    facility and prior to instituting this action, Plaintiff suffered from a “qualified
19    disability” under the ADA, including those set forth in this paragraph. Plaintiff is
20    also the holder of a Disabled Person Parking Placard.
21          2.     Plaintiff is informed and believes and thereon alleges that Defendant
22    WESTWOOD CENTER, LLC, a California limited liability company, owned the
23    property located at 2180 Westwood Blvd., West Los Angeles, 90025 (“Property”) on
24    or around October 2, 2020 upon which Westwood Check Cashing (“Business”) is
25    located.
26          3.     Plaintiff is informed and believes and thereon alleges that Defendant
27    WESTWOOD CENTER, LLC, a California limited liability company, currently
28    owns the Property.
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                                             COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 3 of 10 Page ID #:3


 1           4.     Plaintiff is informed and believes and thereon alleges that Defendant
 2    CASH-PRO MANAGEMENT, INC., a California corporation, owned, operated, and
 3    controlled the Business located at the Property on October 2, 2020.
 4           5.     Plaintiff is informed and believes and thereon alleges that Defendant
 5    CASH-PRO MANAGEMENT, INC., a California corporation, owns, operates, and
 6    controls the Business located at the Property currently.
 7           6.     The Business is a check cashing store open to the public, which is a
 8    “place of public accommodation” as that term is defined by 42 U.S.C. § 12181(7).
 9           7.     Plaintiff does not know the true name of DOE Defendants, that may be
10    related to the Business and/or Property. Plaintiff is informed and believes that each
11    of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
12    some capacity for the events herein alleged. Plaintiff will seek leave to amend when
13    the true names, capacities, connections, and responsibilities of the Defendants and
14    Does 1 through 10, inclusive, are ascertained.
15                                JURISDICTION AND VENUE
16           8.     This Court has subject matter jurisdiction over this action pursuant
17    to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
18           9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
19    claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
20    California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
21    federal ADA claims in that they have the same nucleus of operative facts and
22    arising out of the same transactions, they form part of the same case or controversy
23    under Article III of the United States Constitution.
24           10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
25    real property which is the subject of this action is located in this district and because
26    Plaintiff's causes of action arose in this district.
27                                 FACTUAL ALLEGATIONS
28           11.    Plaintiff went to the Business on or about October 2, 2020 for the dual
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                                              COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 4 of 10 Page ID #:4


 1    purpose of inquiring about cash checking services and to confirm that this public
 2    place of accommodation is accessible to persons with disabilities within the meaning
 3    federal and state law.
 4          12.    Unfortunately, although parking spaces were one of the facilities
 5    reserved for patrons, there were no designated parking spaces available for persons
 6    with disabilities that complied with the 2010 Americans with Disabilities Act
 7    Accessibility Guidelines (“ADAAG”) on October 2, 2020.
 8          13.    At that time, instead of having architectural barrier free facilities for
 9    patrons with disabilities, Defendants have: an accessible parking area whose slope
10    exceeds ADAAG specifications (Section 502.4).
11          14.    Parking spaces are one of the facilities, privileges, and advantages
12    reserved by Defendants to persons at the Property serving the Business.
13          15.    Because Defendant WESTWOOD CENTER, LLC, a California limited
14    liability company, owns the Property, which is a place of public accommodation,
15    they are responsible for the violations of the ADA that exist in the parking area and
16    accessible routes that connect to the facility’s entrance that serve customers to the
17    Business.
18          16.    Subject to the reservation of rights to assert further violations of law
19    after a site inspection found infra, Plaintiff asserts there are additional ADA
20    violations which affect him personally.
21          17.    Plaintiff is informed and believes and thereon alleges Defendants had
22    no policy or plan in place to make sure that there was compliant accessible parking
23    reserved for persons with disabilities prior to October 2, 2020.
24          18.    Plaintiff is informed and believes and thereon alleges Defendants have
25    no policy or plan in place to make sure that the designated disabled parking for
26    persons with disabilities comport with the ADAAG.
27          19.    Plaintiff personally encountered these barriers. The presence of these
28    barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
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                                             COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 5 of 10 Page ID #:5


 1    conditions at public place of accommodation and invades legally cognizable
 2    interests created under the ADA.
 3           20.      The conditions identified supra are necessarily related to Plaintiff’s
 4    legally recognized disability in that Plaintiff is substantially limited in the major life
 5    activities of walking, standing, ambulating, and sitting; Plaintiff is the holder of a
 6    disabled parking placard; and because the enumerated conditions relate to the use of
 7    the accessible parking, relate to the slope and condition of the accessible parking and
 8    accessible path to the accessible entrance, and relate to the proximity of the
 9    accessible parking to the accessible entrance.
10           21.      As an individual with a mobility disability who at times relies upon a
11    wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
12    accommodations have architectural barriers that impede full accessibility to those
13    accommodations by individuals with mobility impairments.
14           22.      Plaintiff is being deterred from patronizing the Business and its
15    accommodations on particular occasions, but intends to return to the Business for the
16    dual purpose of availing himself of the goods and services offered to the public and
17    to ensure that the Business ceases evading its responsibilities under federal and state
18    law.
19           23.      Upon being informed that the public place of accommodation has
20    become fully and equally accessible, he will return within 45 days as a “tester” for
21    the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
22    Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
23           24.      As a result of his difficulty experienced because of the inaccessible
24    condition of the facilities of the Business, Plaintiff was denied full and equal access
25    to the Business and Property.
26           25.      The Defendants have failed to maintain in working and useable
27    conditions those features required to provide ready access to persons with
28    disabilities.
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                                              COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 6 of 10 Page ID #:6


 1          26.    The U.S. Department of Justice has emphasized the importance of
 2    enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
 3    of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
 4    Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 5    Coronavirus Disease 2019 (COVID-19) found at
 6    https://www.ada.gov/aag_covid_statement.pdf.
 7          27.    The violations identified above are easily removed without much
 8    difficulty or expense. They are the types of barriers identified by the Department of
 9    Justice as presumably readily achievable to remove and, in fact, these barriers are
10    readily achievable to remove. Moreover, there are numerous alternative
11    accommodations that could be made to provide a greater level of access if complete
12    removal were not achievable.
13          28.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
14    alleges, on information and belief, that there are other violations and barriers in the
15    site that relate to his disability. Plaintiff will amend the complaint, to provide proper
16    notice regarding the scope of this lawsuit, once he conducts a site inspection.
17    However, the Defendants are on notice that the Plaintiff seeks to have all barriers
18    related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
19    (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
20    have all barriers that relate to his disability removed regardless of whether he
21    personally encountered them).
22          29.    Without injunctive relief, Plaintiff will continue to be unable to fully
23    access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
24                                FIRST CAUSE OF ACTION
25    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
26      42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
27                                         (P.L. 110-325)
28          30.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
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                                             COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 7 of 10 Page ID #:7


 1    above and each and every other paragraph in this Complaint necessary or helpful to
 2    state this cause of action as though fully set forth herein.
 3          31.    Under the ADA, it is an act of discrimination to fail to ensure that the
 4    privileges, advantages, accommodations, facilities, goods, and services of any place
 5    of public accommodation are offered on a full and equal basis by anyone who owns,
 6    leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 7    Discrimination is defined, inter alia, as follows:
 8                 a.     A failure to make reasonable modifications in policies, practices,
 9                        or procedures, when such modifications are necessary to afford
10                        goods, services, facilities, privileges, advantages, or
11                        accommodations to individuals with disabilities, unless the
12                        accommodation would work a fundamental alteration of those
13                        services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                 b.     A failure to remove architectural barriers where such removal is
15                        readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                        defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
17                        Appendix "D".
18                 c.     A failure to make alterations in such a manner that, to the
19                        maximum extent feasible, the altered portions of the facility are
20                        readily accessible to and usable by individuals with disabilities,
21                        including individuals who use wheelchairs, or to ensure that, to
22                        the maximum extent feasible, the path of travel to the altered area
23                        and the bathrooms, telephones, and drinking fountains serving
24                        the area, are readily accessible to and usable by individuals with
25                        disabilities. 42 U.S.C. § 12183(a)(2).
26          32.    Any business that provides parking spaces must provide accessible
27    parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
28    shall be at the same level as the parking spaces they serve. Changes in level are not
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                                             COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 8 of 10 Page ID #:8


 1    permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
 2    all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 3    Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 4    designated disabled parking space is a violation of the law and excess slope angle in
 5    the access pathway is a violation of the law.
 6          33.       A public accommodation must maintain in operable working condition
 7    those features of its facilities and equipment that are required to be readily accessible
 8    to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9          34.       Here, the failure to ensure that accessible facilities were available and
10    ready to be used by Plaintiff is a violation of law.
11          35.       Given its location and options, Plaintiff will continue to desire to
12    patronize the Business but he has been and will continue to be discriminated against
13    due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
14    the barriers.
15                                 SECOND CAUSE OF ACTION
16        VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
17          36.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
18    above and each and every other paragraph in this Complaint necessary or helpful to
19    state this cause of action as though fully set forth herein.
20          37.       California Civil Code § 51 et seq. guarantees equal access for people
21    with disabilities to the accommodations, advantages, facilities, privileges, and
22    services of all business establishments of any kind whatsoever. Defendants are
23    systematically violating the UCRA, Civil Code § 51 et seq.
24          38.       Because Defendants violate Plaintiff’s rights under the ADA,
25    Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
26    52(a).) These violations are ongoing.
27          39.       Plaintiff is informed and believes and thereon alleges that Defendants’
28    actions constitute discrimination against Plaintiff on the basis of a disability, in
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                                               COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 9 of 10 Page ID #:9


 1    violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 2    previously put on actual or constructive notice that the Business is inaccessible to
 3    Plaintiff. Despite this knowledge, Defendants maintain its premises in an
 4    inaccessible form, and Defendants have failed to take actions to correct these
 5    barriers.
 6                                          PRAYER
 7    WHEREFORE, Plaintiff prays that this court award damages provide relief as
 8    follows:
 9           1.    A preliminary and permanent injunction enjoining Defendants from
10    further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
11    Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
12    respect to its operation of the Business and Property; Note: Plaintiff is not invoking
13    section 55, et seq, of the California Civil Code and is not seeking injunctive relief
14    under the Disabled Persons Act (Cal. C.C. §54) at all.
15           2.    An award of actual damages and statutory damages of not less than
16    $4,000 per violation pursuant to § 52(a) of the California Civil Code;
17           3.    An additional award of $4,000.00 as deterrence damages for each
18    violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
19    LEXIS 150740 (USDC Cal, E.D. 2016); and,
20           4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
21    pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
22    ////
23    ////
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                                            COMPLAINT
     Case 2:20-cv-09909-MWF-AFM Document 1 Filed 10/28/20 Page 10 of 10 Page ID #:10


 1                                 DEMAND FOR JURY TRIAL
 2           Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 3     raised in this Complaint.
 4

 5     Dated: October 27, 2020                MANNING LAW, APC
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 7                                      By: /s/ Joseph R. Manning Jr., Esq.
                                           Joseph R. Manning Jr., Esq.
 8                                         Attorney for Plaintiff
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